Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 1 of 23



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

   PDVSA US LITIGATION TRUST

               Plaintiff,

         vs.

   LUKOIL PAN AMERICAS LLC; LUKOIL
   PETROLEUM LTD.; COLONIAL OIL
   INDUSTRIES, INC.; COLONIAL GROUP,
   INC.; GLENCORE LTD.; GLENCORE
   INTERNATIONAL A.G.; GLENCORE
   ENERGY UK LTD.; MASEFIELD A.G.;
   TRAFIGURA A.G.; TRAFIGURA
   TRADING LLC; TRAFIGURA BEHEER
   B.V.; VITOL ENERGY (BERMUDA) LTD.;
   VITOL S.A.; VITOL, INC.; FRANCISCO
   MORILLO; LEONARDO BAQUERO;               Case No. 1:18-cv-20818-DPG
   DANIEL LUTZ; LUIS LIENDO; JOHN
   RYAN; MARIA FERNANDA RODRIGUEZ;
   HELSINGE HOLDINGS, LLC; HELSINGE,
   INC.; HELSINGE LTD., SAINT-HÉLIER;
   WALTROP CONSULTANTS, C.A.;
   GODELHEIM, INC.; HORNBERG INC.;
   SOCIETE DOBERAN, S.A.; SOCIETE
   HEDISSON, S.A.; SOCIETE HELLIN, S.A.;
   GLENCORE DE VENEZUELA, C.A.; JEHU
   HOLDING INC.; ANDREW SUMMERS;
   MAXIMILIANO POVEDA; JOSE
   LAROCCA; LUIS ALVAREZ; GUSTAVO
   GABALDON; SERGIO DE LA VEGA;
   ANTONIO MAARRAOUI; CAMPO ELIAS
   PAEZ; PAUL ROSADO; BAC FLORIDA
   BANK; EFG INTERNATIONAL A.G.; BLUE
   BANK INTERNATIONAL N.V.

               Defendants.



     DEFENDANTS’ MOTION, BY ORDER TO SHOW CAUSE, FOR SANCTIONS AND
                    OTHER RELIEF AGAINST PLAINTIFF
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 2 of 23



                                                          TABLE OF CONTENTS

                                                                                                                                           Page


   I.       PRELIMINARY STATEMENT .........................................................................................1 
   MEMORANDUM OF LAW ...........................................................................................................4 
   II.      BACKGROUND .................................................................................................................4 
   III.     ARGUMENT .......................................................................................................................9 
            A.        Plaintiff Has an Obligation to Produce PDVSA Discovery.....................................9 
            B.        Plaintiff Has Violated this Court’s Orders and Fed. R. Civ. P. 37(b)(2),
                      37(d)(1) ..................................................................................................................11 
   IV.      CONCLUSION ..................................................................................................................14 
   CERTIFICATE OF SERVICE ......................................................................................................19 
    




                                                                        i
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 3 of 23



                                                  TABLE OF AUTHORITIES

                                                                                                                                     Page
                                                                   Cases

   Bank of New York v. Meridien Biao Bank Tanzania Ltd.,
     171 F.R.D. 135 (S.D.N.Y. 1997) ............................................................................................... 9

   Betty K Agencies, Ltd. v. M/V MONADA,
      432 F.3d 1333 (11th Cir. 2005) ............................................................................................... 13

   Compagnie Francaise D’Assurance Pour Le Commerce Exterieur v. Phillips Petroleum
     Co.,
     105 F.R.D. 16 (S.D.N.Y. 1984) ............................................................................................... 11

   In re Infant Formula Antitrust Litig.,
      No. MDL 878, 1992 WL 503465 (N.D. Fla. Jan. 13, 1992).................................................... 10

   JPMorgan Chase Bank v. Winnick,
     228 F.R.D. 505 (S.D.N.Y. 2005) ......................................................................................... 9, 10

   Nat’l Hockey League v. Metro. Hockey Club, Inc.,
     427 U.S. 639 (1976) ................................................................................................................. 13

   Natta v. Hogan,
     392 F.2d 686 (10th Cir. 1968) ................................................................................................. 10

   Navarro v. Cohan,
     856 F.2d 141 (11th Cir. 1988) ................................................................................................. 11

   Phipps v. Blakeney,
      8 F.3d 788 (11th Cir. 1993) ............................................................................................... 11, 13

   Properties Int’l Ltd. v. Turner,
      706 F.2d 308 (11th Cir. 1983) ................................................................................................. 11

   Royal Park Investments SA/NV v. Deutsche Bank Nat’l Trust Co.,
     314 F.R.D. 341 (S.D.N.Y. 2016) ............................................................................................. 10

   Royal Park Investments SA/NV v. U.S. Bank Nat’l Ass’n,
     2017 WL 384350 (S.D.N.Y. Jan. 25, 2017) ............................................................................ 10

   Travelers Indemnity Co. of Am. v. Kendrick Bros. Roofing, Inc.,
      2013 WL 6681240 (D. Idaho Dec. 18, 2013) .......................................................................... 10

                                                       Rules and Regulations

   Fed. R. Civ. P. 30(b)(6)................................................................................................... 5, 7, 11, 12


                                                                       ii
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 4 of 23



   Fed. R. Civ. P. 37(b)(2) ............................................................................................................ 1, 10

   Fed. R. Civ. P. 37(b)(2)(A) ........................................................................................................... 12

   Fed. R. Civ. P. 37(b)(2)(A)(i) ................................................................................................. 10, 13

   Fed. R. Civ. P. 37(b)(2)(A)(i)-(vi) ................................................................................................ 11

   Fed. R. Civ. P. 37(b)(2)(A)(ii) ...................................................................................................... 13

   Fed. R. Civ. P. 37(b)(2)(B) ........................................................................................................... 11

   Fed. R. Civ. P. 37(b)(2)(C) ..................................................................................................... 11, 14

   Fed. R. Civ. P. 37(d) ..................................................................................................................... 11

   Fed. R. Civ. P. 37(d)(1)....................................................................................................... 1, 11, 12

   Fed. R. Civ. P. 37(d)(3)........................................................................................................... 11, 14

                                                                           




                                                                        iii
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 5 of 23



          Pursuant to Federal Rules of Civil Procedure 37(b)(2) and 37(d)(1), Defendants Trafigura

   Trading, LLC, Lukoil Pan Americas LLC, Colonial Oil Industries, Inc., Colonial Group, Inc.,

   Paul Rosado, Glencore Ltd., Glencore Energy UK Ltd., Gustavo Gabaldon, Sergio de la Vega,

   Vitol Inc., Vitol Energy (Bermuda) Ltd., Antonio Maarraoui, BAC Florida Bank, Francisco

   Morillo, Leonardo Baquero, Helsinge Holdings, LLC, Helsinge, Inc., Helsinge Ltd., Daniel Lutz,

   Luis Liendo, John Ryan, and Luis Alvarez (collectively “Defendants”), given Plaintiff PDVSA

   US Litigation Trust’s (“Plaintiff” or the “Trust”) complete inability to provide critical, court-

   ordered discovery from Petróleos de Venezuela, S.A. (“PDVSA”) on the issue of standing, move,

   by an Order to Show Cause, for an order imposing sanctions and other appropriate relief,

   including, inter alia, an order precluding Plaintiff and its experts from either claiming that

   PDVSA properly created the Trust or properly assigned claims to the Trust, and/or from offering

   or relying on any evidence from PDVSA in attempting to prove its standing. The Court should

   also award Defendants their attorneys’ fees and costs.

   I.     PRELIMINARY STATEMENT

          Plaintiff was purportedly created in 2017 for the sole purpose to assert—in U.S. courts

   and elsewhere—the claims of the Venezuelan state-owned oil company, PDVSA.                 As the

   purported assignee of PDVSA’s claims, it is axiomatic that Plaintiff is obligated to provide

   discovery from PDVSA in this action. After all, many of the issues in dispute here undeniably

   derive from facts and evidence solely in PDVSA’s control; otherwise stated, it is self-evident

   that Plaintiff would not have in its control the witnesses and documents that are in the control of

   PDVSA. And PDVSA cannot use a so-called “trust” to avoid the consequences of bringing

   claims in this Court, including discovery. Yet time and again, despite its obligations under the
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 6 of 23



   Federal Rules of Civil Procedure, the case law, and numerous court orders, Plaintiff has

   consistently failed to provide discovery from PDVSA.

          The present motion focuses on Plaintiff’s total failure to produce key witnesses for

   deposition and key documents on the issue of Plaintiff’s standing to bring this action. Despite

   Defendants’ requests, repeated extensions of time, and successive discovery orders from this

   Court, Plaintiff has failed to make available for deposition any PDVSA-related witness or

   produce any documents from PDVSA. More specifically:

                Plaintiff cannot provide Dr. Hilda Cabeza, the designee of PDVSA for a 30(b)(6)
                 deposition—while she initially agreed to be deposed outside of Venezuela on at
                 least two occasions, Plaintiff cancelled the latest agreed-to date just 48 hours
                 before her deposition was scheduled to take place in Madrid, Spain;

                Plaintiff has not produced for deposition three officials of the Venezuelan
                 Government:

                     o the Procurador General, Reinaldo Munoz Pedroza, an alleged signatory to
                       the Trust Agreement who purported to ratify the conveyance of PDVSA’s
                       claims to the Trust—Plaintiff originally agreed to produce him in New
                       York, but then cancelled the deposition a few days before it was set to
                       occur;

                     o the former Minister of the People’s Petroleum Power (“PPP”), Nelson
                       Martinez, also an alleged signatory to the Trust Agreement who purported
                       to convey PDVSA’s claims to the Trust—Plaintiff has indicted he is
                       currently incarcerated in Venezuela;

                     o the current Minister of the PPP and current President of PDVSA, Manuel
                       Quevedo—Plaintiff claims he has refused to sit for a deposition;

                Plaintiff has not produced for deposition the two different PDVSA employees
                 who were supposed to, or purported to, sign versions of the Trust Agreement as
                 the PDVSA Trustee (Miguel Bolivar, who appears to have not signed, and his
                 replacement Alexis Arellano, who purported to sign)—Plaintiff claims it cannot
                 locate either of them; and

                Plaintiff has not provided a single document from PDVSA—just a letter from Dr.
                 Cabeza stating that “Confirmo que, despues de una busqueda razonable, PDVSA
                 no ha encontrado ningun documento adicional….” (“I confirm that, after a
                 reasonable search, PDVSA has not found any additional document….”).


                                                 2
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 7 of 23




          Plaintiff’s inability to produce key discovery from its assignor, PDVSA, apparently

   originates from the highest echelon of political power: its President, Nicolas Maduro. Indeed,

   according to Plaintiff, Mr. Maduro himself was involved in the cancellation of the previously

   scheduled depositions: “the President of Venezuela and the President of PDVSA have instructed

   Dr. Cabeza that she is not permitted to leave the country for her deposition scheduled for Friday,

   June 8 in Madrid;” and canceling the deposition of the Procurador General because “the

   President of Venezuela had restricted travel of government officials outside the country.”

   Ultimately, however, the critical point is that Plaintiff chose to file this action in this Court as an

   assignee of PDVSA; having sought the benefits of litigating its claims in the U.S. courts Plaintiff

   and PDVSA must also abide by the obligations that go along with these benefits, including the

   discovery obligations.

          Plaintiff’s failure to make any PDVSA-related individuals available for deposition or

   produce any PDVSA documents over the past two months has prejudiced Defendants in their

   attempts to gather the facts showing that Plaintiff lacks standing. In fact, one can infer that the

   reason Plaintiffs or PDVSA are depriving Defendants of this discovery is that these PDVSA

   witnesses and documents would show that Plaintiff lacks standing for one or more of the many

   reasons Defendants have already articulated.          Defendants also have been prejudiced by

   Plaintiff’s last-minute cancellations of the only two PDVSA-related depositions scheduled.

   Those cancellations resulted in substantial fees, costs and attorney time spent preparing for those

   depositions.

          Enough is enough. For all of these reasons, and for those that follow, Defendants

   respectfully request that the Court enter an order due to PDVSA’s refusal to provide discovery,

   precluding Plaintiff from either claiming that PDVSA properly created the Trust or properly



                                                     3
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 8 of 23



   assigned claims to the Trust, and/or offering or relying on any evidence from PDVSA in

   attempting to prove its standing. The Court should also award Defendants their attorneys’ fees

   and costs.

                                     MEMORANDUM OF LAW

   II.    BACKGROUND

          Recognizing that standing is an important threshold issue to resolve before the

   Defendants are forced to incur the time and expense of moving to dismiss the Amended

   Complaint, the Court entered an order on April 16, 2018, that set a schedule for standing-related

   discovery and permitted each party to take up to four fact depositions as to the issue of standing.

   [ECF No. 253.] That order set May 4, 2018, as the deadline for fact depositions. [Id.]

          Over the next several weeks, Defendants diligently pursued this discovery, including by

   issuing document requests to Plaintiff relating to PDVSA and seeking numerous PDVSA-related

   depositions. On April 21, 2018, Defendants identified a list of ten potential deponents, a number

   of whom are representatives or employees of PDVSA. Then, in its First Discovery Order, the

   Court ordered the parties to meet and confer regarding, inter alia, the availability of the

   following:

                   “PDVSA’s corporate representative for deposition by Defendants”;

                   “Reinaldo Munoz Pedroza,” the Procurador General;

                   “Nelson Martinez,” the former Minister of the PPP;

                   “Alexis Arellano,” who signed a version of the Trust Agreement as the PDVSA

                    Trustee; and

                   “Manuel Quevedo,” the current President of PDVSA and Minister of the PPP.




                                                   4
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 9 of 23



   [ECF No. 278, at 3.]       Defendants also inquired about Miguel Bolivar, who preceded Mr.

   Arellano as the PDVSA trustee, but Plaintiffs have not provided any information on his

   availability.

           In the subsequent Court-ordered meet and confers, Plaintiff made clear that all of these

   requested PDVSA-related witnesses are unavailable for deposition: Mr. Martinez—who is

   unquestionably one of the most important witnesses—has been arrested and incarcerated by Mr.

   Maduro’s regime in Venezuela; Mr. Arellano and Mr. Bolivar are missing; and Mr. Quevedo

   outright refused to appear. That said, Mr. Munoz Pedroza and Dr. Hilda Cabeza (as PDVSA’s

   Rule 30(b)(6) corporate representative) supposedly agreed to appear in New York for deposition,

   at that time.    The Court subsequently confirmed this agreement and ordered these two

   depositions in its May 1, 2018 Second Discovery Order. [ECF No. 355, at 2.] The same day, the

   Court ordered the parties to make their respective deponents available for deposition by May 22,

   2018. [ECF No. 356.]

           Plaintiff subsequently represented that it could not provide these witnesses by May 22,

   and the Court therefore set new timelines. In its Fourth Discovery Order, the Court stated that

   “the deposition of Mr. Reinaldo Munoz Pedroza is scheduled to take place on May 30, 2018 in

   New York, New York.” [ECF No. 390, at 3.] After Dr. Cabeza allegedly said she would not

   travel to the United States, Defendants offered to depose her in a country that allows voluntary

   depositions.1 Consequently, in its Fourth Discovery Order, the Court also ordered Plaintiff to

   provide “the agreed deponent, date and location for…the Rule 30(b)(6) representative of PDVSA”

   for inclusion in a Joint Notice to be filed by the parties. [Id. at 4]


           1
               Venezuela prohibits even voluntary depositions except under specific procedures
   Plaintiff has not implemented here.



                                                      5
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 10 of 23



          Despite these Court orders, however, three days before Mr. Munoz Pedroza’s deposition,

   Plaintiff unilaterally canceled it, purportedly because Mr. Maduro, “the President of Venezuela[,]

   had restricted travel of government officials outside the country.” Declaration of Adam B.

   Wolfson (“Wolfson Decl.”), Ex. A.        Plaintiff has failed to reschedule that Court-ordered

   deposition. The parties once again returned to the Court to resolve certain other discovery

   disputes, and the Court, faced with this and other delays, extended the deadline for standing-

   related depositions in its Fifth Discovery Order, this time until June 11, 2018. [ECF No. 404, at

   4.]

          Following the Fifth Discovery Order, Dr. Cabeza agreed to sit for her deposition in

   Madrid, Spain on June 8. Defendants began preparing for that deposition and were prepared to

   travel to Madrid when, on the morning of June 6, Plaintiff informed them that “the President of

   Venezuela [Mr. Maduro] and the President of PDVSA [Mr. Quevedo] have instructed Dr.

   Cabeza that she is not permitted to leave the country for her deposition.” Declaration of Adam B.

   Wolfson (“Wolfson Decl.”), Ex. B. Plaintiff has again failed to reschedule that Court-ordered

   deposition.

          The parties met and conferred regarding these issues on June 12, 2018, after the deadline

   for depositions passed. Id. ¶ 4. Plaintiff’s counsel acknowledged the deadline had passed and

   stated that Plaintiff still could not confirm whether Mr. Munoz Pedroza or Dr. Cabeza could

   appear for deposition at all, let alone in the next few weeks before the hearing. Id. Plaintiff

   again offered to have a video deposition taken in Venezuela, but acknowledged its understanding

   that Defendants have raised U.S. sanctions and laws that prohibit a deposition to be taken under




                                                   6
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 11 of 23



   these circumstances. Id. ¶ 5.2 Plaintiff has said on several occasions that Mr. Munoz and Ms.

   Cabeza can be made available for deposition by videoconference from Venezuela and that a

   videoconference deposition would comply with applicable law. Plaintiff has not, however,

   provided any authority for that assertion. Defendants remain unwilling to violate Venezuelan

   law as Plaintiff has urged.     Plaintiff’s counsel also floated the idea of a Rule 30(b)(6)

   representative outside of Venezuela, but offered no concrete representative or deposition date for

   that option. Id.

          As the Court is aware, Plaintiff purports to have been assigned PDVSA’s claims. For

   standing purposes, Defendants intended to question these PDVSA-related witnesses about the

   creation of the Trust (including whether the Trust is invalid under New York

   champerty/maintenance law, federal sanctions law, or creditor laws), their alleged power and

   authority to assign the claims, the authenticity of the signatures, and the corporate approvals and

   processes these people employed (or not) in the lead up to, and the signing of, the Trust

   Agreement. Moreover, the PDVSA discovery is critical to understand why, if an assignment of

   this kind was in fact authorized and valid, PDVSA conveyed (for no consideration) 66% of any



          2
              In any event, Defendants have also pointed out that Venezuela does not allow
   depositions by U.S. attorneys in Venezuela without going through the proper procedures. See
   Chapter II of the Hague Convention on the Taking of Evidence Abroad in Civil or Commercial
   Matters,                                   https://www.hcch.net/en/instruments/conventions/status-
   table/notifications/?csid=566&disp=resdn (noting that Venezuela “will not allow commissioners
   as provided in Chapter II of this convention to act in obtaining evidence”) (last visited June 14,
   2018). Accordingly, “depositions of willing witnesses in Venezuela must be undertaken
   pursuant to a request to the Venezuelan Central Authority and in the context of the Venezuelan
   court system . . . [P]rivate attorneys from the United States attempting to conduct voluntary
   depositions of willing witnesses in Venezuela are subject to the penalties of local Venezuelan
   law.”       State Department, Judicial Assistance Country Information:                 Venezuela,
   https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-Information.html (last
   visited June 14, 2018).



                                                   7
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 12 of 23



   recovery to the attorneys and consultants and otherwise empowered the Trust to be controlled by

   trustees appointed by attorneys.

          Dr. Cabeza, as PDVSA’s corporate representative, is also relevant to certain document

   production-related issues in this case. Following Plaintiff’s deficient document production,

   which purportedly included documents obtained by the Trust from PDVSA, Dr. Cabeza signed a

   letter certifying that those documents were the full extent of what PDVSA could locate after a

   reasonable and diligent search. Wolfson Decl., Ex. C. Dr. Cabeza’s representation requires

   exploration at deposition, particularly since Plaintiff represented to the Court that it was not

   involved in PDVSA’s collection of documents and that Dr. Cabeza oversaw that process. May 8,

   2018 Hr’g Tr. at 18:6-20. Otherwise, Dr. Cabeza’s letter raises more questions than it answers

   (such as what did PDVSA do to search, what does the word “additional” mean, and how could it

   possibly have no “additional” responsive documents) and Plaintiff’s compliance with its

   document production obligations is deficient.

          Mr. Munoz Pedroza also is central to this dispute. As noted, he is an alleged signatory to

   the Trust Agreement, under which he supposedly has supervisory authority (which Defendants

   contest), as well as the ability choose the Trust’s counsel. Wolfson Decl., Ex. D. With respect to

   standing, Plaintiff’s counsel testified at deposition that Mr. Munoz Pedroza, inter alia:

                 Provided him with the signature of the PDVSA trustee, Mr. Arellano, and was the
                  one who could verify whether or not the signature appearing on the Trust
                  Agreement was authentic, Wolfson Decl., Ex. E (Boies Dep. Tr.), at 17:5-13;

                 Is the individual who could also verify the authenticity of Mr. Martinez’s
                  signature on the Trust Agreement, as well as the validity of seal of the Ministry of
                  People’s Petroleum, id. at 33:15-22;

                 Signed the Trust Agreement on PDVSA’s behalf as its “representative,” id. at
                  100:5-13, 112:10-16, 126:8-127:10; and

                 Is the representative of PDVSA for matters related to the Trust Agreement, id. at
                  99:9-21.


                                                    8
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 13 of 23



          As this testimony makes clear, Mr. Munoz Pedroza is a key witness on the issues of who

   represented PDVSA in the Trust Agreement negotiations; whether the signatories to the

   Agreement had the authority to sign on PDVSA’s behalf; and, at the most basic level, whether

   the signatures on the document are even authentic.

          Indeed, Dr. Cabeza and Mr. Munoz Pedroza are all the more important, because the other

   PDVSA-related witnesses are either incarcerated (Mr. Martinez) or missing (Messrs. Arellano

   and Bolivar) or simply unwilling to be deposed (Mr. Quevedo). No other PDVSA-related

   witnesses of which Defendants are aware signed the Trust Agreement or were personally

   involved in establishing the Trust and purportedly assigning the claims.

   III.   ARGUMENT

          A.      Plaintiff Has an Obligation to Produce PDVSA Discovery

          As the plaintiff in this action, the Trust’s obligations to comply with the Court’s orders

   and participate in standing-related discovery do not extend solely to the Trust itself. To the

   contrary, the Trust, as the assignee of the claims in this case, is legally obligated to obtain the

   cooperation of the alleged assignor, PDVSA, in complying with discovery obligations, since the

   Trust purports to be standing in PDVSA’s shoes. See JPMorgan Chase Bank v. Winnick, 228

   F.R.D. 505, 507 (S.D.N.Y. 2005) (requiring assignee to produce its assignor’s documents

   because “the assignees are suing in the shoes of the original lenders, having purchased the right

   to bring the lawsuit, there is nothing unfair about imposing on them the cost of purchasing

   cooperation or otherwise complying with discovery obligations”); Bank of New York v. Meridien

   Biao Bank Tanzania Ltd., 171 F.R.D. 135 (S.D.N.Y. 1997) (“It would be patently unfair if [the

   assignee] were able to continue to discover relevant information from [its adversary] while

   relegating [its adversary] to seek information from [the assignor] as a non-party”); In re Infant

   Formula Antitrust Litig., No. MDL 878, 1992 WL 503465, at *9 (N.D. Fla. Jan. 13, 1992)


                                                   9
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 14 of 23



   (courts treat both the “assignor and the assignee as parties for discovery”) (citing Natta v. Hogan,

   392 F.2d 686, 691 (10th Cir. 1968) (internal citations omitted)).

          This requirement applies with equal force to witnesses for depositions. Royal Park

   Investments SA/NV v. U.S. Bank Nat’l Ass’n, 2017 WL 384350, at *1 (S.D.N.Y. Jan. 25, 2017)

   (“‘[T]he assignee of a claim in litigation has a duty to obtain and produce the same documents

   and information to which the opposing parties would have been entitled had the assignors

   brought the claim themselves.’ U.S. Bank is correct that this principle is equally applicable to

   witnesses as it is to documents.” (emphasis added) (quoting Royal Park Investments SA/NV v.

   Deutsche Bank Nat’l Trust Co., 314 F.R.D. 341, 344 (S.D.N.Y. 2016))); see also JPMorgan, 228

   F.R.D. at 507 (“JPM and the Real Parties in Interest have the duty to produce the documents,

   information, and witness testimony to which defendants would be entitled in discovery from

   parties under the Federal Rules of Civil Procedure, just as if the Banks had brought this action

   themselves on their own claims.”) (emphasis added); Travelers Indemnity Co. of Am. v. Kendrick

   Bros. Roofing, Inc., 2013 WL 6681240, at *2 (D. Idaho Dec. 18, 2013) (“Travelers, as the

   assignee of Okland’s claims, has a duty to produce the documents, information, and witness

   testimony to which the subcontractor defendants would be entitled in discovery from parties

   under the Federal Rules of Civil Procedure”) (emphasis added).

          It is well established that “a third party [assignor] with a substantial interest in the

   litigation cannot be allowed to frustrate the rules of discovery to the disadvantage of another

   party.” Infant Formula, 1992 WL 503465, at *10 (quoting Compagnie Francaise D'Assurance

   Pour Le Commerce Exterieur v. Phillips Petroleum Co., 105 F.R.D. 16, 34 (S.D.N.Y. 1984)). If

   that third party assignor does prevent discovery, then sanctions against the assignee are

   appropriate. Properties Int'l Ltd. v. Turner, 706 F.2d 308, 311 (11th Cir. 1983) (awarding




                                                   10
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 15 of 23



   dismissal sanctions where plaintiff assignee claimed, inter alia, that it could not produce copy of

   assigned mortgage and note because they were still in assignor’s possession). This is particularly

   the case here, given that the Trust has no business or operations and exists for no other reason

   than to litigate this case, and the assignor is a rogue country on which the U.S. has imposed

   severe sanctions.

          B.      Plaintiff Has Violated this Court’s Orders and Fed. R. Civ. P. 37(b)(2),
                  37(d)(1)

          Federal Rule of Civil Procedure 37(b)(2)(B) empowers district courts to impose sanctions

   where a party fails to comply with a discovery order. Rule 37(d)(1)(A)(i) similarly allows the

   Court to order relief if a party fails to make its Rule 30(b)(6) representative available for

   deposition. Any award of sanctions is committed to the Court’s sound discretion. Phipps v.

   Blakeney, 8 F.3d 788, 790 (11th Cir. 1993) (“We review a district court order of sanctions for

   abuse of discretion.”) (citing Navarro v. Cohan, 856 F.2d 141 (11th Cir. 1988)).

          The relief available under both of the above Rules includes, inter alia, dismissing a

   disobedient plaintiff’s claims, directing that certain facts be taken as true for purposes of the

   action, and prohibiting the disobedient party from opposing designated defenses (or from

   introducing designated matters into evidence). Fed. R. Civ. P. 37(b)(2)(A)(i)-(vi) (setting forth

   the various sanctions available for violating discovery orders), 37(d)(3) (“Sanctions [for violating

   Rule 37(d) by not making a Rule 30(b)(6) representative available for deposition] may include

   any of the orders listed in Rule 37(b)(2)(A)(i)-(vi)”). Unless the Court finds that the failure to

   comply with discovery obligations is substantially justified, the Court also must award the

   prevailing party its “reasonable expenses, including attorneys’ fees, caused by the failure.” Fed.

   R. Civ. P. 37(b)(2)(C), 37(d)(3).




                                                   11
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 16 of 23



          In its Fifth Discovery Order, the Court (after multiple delays by Plaintiff) scheduled the

   deposition deadline for June 11, 2018. [ECF No. 404] Plaintiff’s failure to make Dr. Cabeza or

   Mr. Munoz Pedroza available by that date directly violates the Court’s order, and therefore

   warrants relief under Fed. R. Civ. P. 37(b)(2)(A). Further, since Plaintiff’s co-party (at least for

   discovery purposes), PDVSA, failed to make a Rule 30(b)(6) representative available for

   deposition, sanctions under Rule 37(d)(1) are also appropriate.

          To the extent Plaintiff provides post hac rationalizations for the deposition cancellations

   in its opposition to this motion (such as post-election issues, economic conditions, PDVSA’s

   business struggles, etc.), they should be given no weight. Plaintiff already articulated clearly the

   reasons that the PDVSA witnesses have not appeared: Mr. Maduro does not want them to. Any

   post hac excuses also would ignore that PDVSA clearly created the Trust to avail itself of the

   powers and jurisdiction of this Court, which requires PDVSA to abide by the Court’s rules and

   orders. Furthermore, if in its opposition Plaintiff seeks additional time to convince Mr. Maduro

   to change his mind or to find alternative witnesses, the Court should reject any further delay.

   The Court set and extended numerous deadlines that Plaintiff and PDVSA have missed. Both

   the Court and Defendants have been patient with Plaintiff and PDVSA, at considerable cost, but

   that patience cannot be endless (especially with the prejudice suffered by Defendants as they

   wait for Plaintiff and PDVSA to comply with this Court’s orders). And, even if Plaintiff

   suddenly claims the depositions will proceed, history shows there is no reason to believe that

   such a promise will be fulfilled.

          Dismissal of Plaintiff’s claims is one possible sanction for Plaintiff and PDVSA’s

   discovery failures. As the Eleventh Circuit has observed, dismissal is appropriate “when a

   plaintiff's recalcitrance is due to wilfulness [sic], bad faith or fault.” Phipps v. Blakeney, 8 F.3d




                                                    12
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 17 of 23



   788, 790 (11th Cir. 1993) (citing Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639

   (1976)). ”Moreover, the harsh sanction of dismissal with prejudice is thought to be more

   appropriate in a case where a party, as distinct from counsel, is culpable.” Betty K Agencies, Ltd.

   v. M/V MONADA, 432 F.3d 1333, 1338 (11th Cir. 2005). This is certainly the case here, where a

   dictator who is an avowed enemy of the U.S. Government has engaged in a repeated pattern of

   denying Defendants access to critical evidence, and there is no reason to believe this will change,

   particularly when the issue prompting Defendants’ discovery is the Trust’s basic ability to assert

   PDVSA’s claims at all. Thus, the prejudice to Defendants of Plaintiff and PDVSA’s discovery

   failure is great. Defendants are deprived of evidence from the central actors who supposedly had

   the power and authority to assign PDVSA’s claim, and supposedly did knowingly assign those

   claims—the key evidence in contesting standing. This includes Defendants’ ability to show that

   PDVSA did not properly create the Trust or assign its claims to Plaintiff, that the alleged claim

   assignments were invalid, that the Venezuelan signatures cannot be authenticated, and that the

   proper corporate processes were not followed and approvals were not obtained.

          In the event the Court is not prepared to dismiss the case outright, at a very minimum the

   Court should impose a preclusion sanction.       Specifically, the Court should enter an order

   precluding Plaintiff from claiming that PDVSA properly created the Trust or properly assigned

   claims to the Trust, and/or from offering or relying on any evidence from PDVSA in attempting

   to prove its standing. See Fed. R. Civ. P. 37(b)(2)(A)(i) & (ii) (respectively permitting the Court

   to “designate[] facts be taken as established for purposes of the action,” and “prohibit[] the

   disobedient party from supporting or opposing designated claims or defenses [e.g., Defendants’

   standing defense], or from introducing designated matters in evidence”).




                                                   13
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 18 of 23



          Regardless of the sanction that the Court adopts, Defendants are entitled to their costs and

   attorneys’ fees for preparing for the depositions that Plaintiff then cancelled at the eleventh hour.

   For months now, Defendants have sought discovery into Plaintiff’s standing, a critical piece of

   which is evidence from PDVSA itself. Those efforts have been consistently frustrated, despite

   Plaintiff’s assurances to the Court that it would make both Dr. Cabeza and Mr. Munoz Pedroza

   available for deposition (after claiming that multiple other key witnesses were unavailable), and

   produce responsive documents. Defendants’ attorneys prepared for the depositions and, in Dr.

   Cabeza’s case, made various international travel and logistical arrangements. Plaintiff’s failure

   to make either or both of the witnesses available for deposition by the Court’s June 11 deadline

   carries mandatory cost and fee sanctions. Fed. R. Civ. P. 37(b)(2)(C), 37(d)(3). Accordingly, in

   addition to whatever other relief the Court imposes, it should also award Defendants their costs

   and attorneys’ fees incurred pursuing these depositions, preparing to take them, and making the

   present motion.

   IV.    CONCLUSION

          For all the foregoing reasons, Defendants respectfully request that the Court issue an

   Order to Show Cause why it should not preclude Plaintiff from either claiming that PDVSA

   properly created the Trust or properly assigned claims to the Trust, and award Defendants their

   attorneys’ fees and costs.




                                                    14
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 19 of 23



   Dated: June 14, 2018

    By: /s/ Christina Olivos               By: /s/ Bruce Birenboim
    Edward Mullins, Esq.                   Stephen F. Rosenthal, Esq.
    Florida Bar No. 863920                 Florida Bar No. 0131458 Email:
    Email: emullins@reedsmith.com          srosenthal@podhurst.com
    M. Cristina Cardenas, Esq.             Robert C. Josefsberg, Esq.
    Florida Bar No. 672491                 Florida Bar No. 040856
    Email: ccardenas@reedsmith.com         Email: rjosefsberg@podhurst.com
    Christina Olivos, Esq.                 PODHURST ORSECK, P.A.
    Florida Bar No. 119580                 One S.E. 3rd Ave., Suite 2300
    Email: colivos@reedsmith.com           Miami, FL 33131
    REED SMITH LLP                         Main Tel: (305) 358-2800
    1001 Brickell Bay Drive, Suite 900     Direct Tel: (305) 789-5905
    Miami, FL 33131                        Facsimile: (305) 358-2382
    Telephone: (786) 747-0200
    Facsimile: (786) 747-0299              Bruce Birenboim, Esq.
                                           Admitted Pro Hac Vice
    William A. Burck, Esq.                 Email: bbirenboim@paulweiss.com
    Admitted Pro Hac Vice                  Brad S. Karp, Esq.
    Email: williamburck@quinnemanuel.com   Admitted Pro Hac Vice
    Ethan Glass, Esq.                      Email: bkarp@paulweiss.com
    Admitted Pro Hac Vice                  Jessica S. Carey, Esq.
    Email: ethanglass@quinnemanuel.com     Admitted Pro Hac Vice
    Adam B. Wolfson, Esq.                  Email: jcarey@paulweiss.com
    Email: adamwolfson@quinnemanuel.com    PAUL, WEISS, RIFKIND, WHARTON &
    Admitted Pro Hac Vice                  GARRISON, LLP
    QUINN EMANUEL URQUHART &               1285 Avenue of the Americas
    SULLIVAN, LLP                          New York, NY 10019-6064
    1300 I Street NW, Suite 900            Telephone: (212) 373-3000
    Washington, DC 20005                   Facsimile: (212) 757-3990
    Telephone: (202) 538-8000
    Facsimile: (202) 538-8100              Adam B. Schwartz, Esq.
                                           Admitted Pro Hac Vice
    Attorneys for Defendant TRAFIGURA      Email: aschwartz@paulweiss.com
    TRADING, LLC                           PAUL, WEISS, RIFKIND, WHARTON &
                                           GARRISON, LLP
                                           2001 K Street, NW
                                           Washington, DC 20006
                                           Telephone: (202) 223-7300
                                           Facsimile: (202) 223-7420

                                           Attorneys for Defendants GLENCORE LTD.,
                                           GLENCORE ENERGY UK LTD., GUSTAVO
                                           GABALDON, SERGIO DE LA VEGA, and
                                           LUIS ALVAREZ



                                           15
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 20 of 23




    By: /s/ Adam L. Hudes              By: /s/ Nicolas Swerdloff
    Jorge D. Guttman, Esq.             Nicolas Swerdloff, Esq.
    Florida Bar No. 015319             Florida Bar No. 070416
    Email: jguttman@gunster.com        Email:
    Jonathan H. Kaskel, Esq.           Nicolas.swerdloff@hugheshubbard.com
    Florida Bar No. 52718              Jeffrey B. Goldberg, Esq.
    Email: jkaskel@gunster.com         Florida Bar No. 118689
    GUNSTER                            Email: Jeffrey.goldberg@hugheshubbard.com
    600 Brickell Avenue Suite 3500     HUGHES HUBBARD & REED LLP
    Miami, Florida 33131               201 South Biscayne Boulevard, Suite 2500
    Telephone: (305) 376-6000          Miami, Florida 33131
    Facsimile: (305) 376-6010          Telephone: (305) 358-1666
                                       Facsimile: (305) 371-8759
    Mark W. Ryan, Esq.
    Admitted Pro Hac Vice              Attorneys for Defendant BAC FLORIDA
    Email: mryan@mayerbrown.com        BANK
    Adam L. Hudes, Esq.
    Admitted Pro Hac Vice              By: /s/ Kimberly Ann Pathman
    Email: ahudes@mayerbrown.com       Kimberly A. Pathman
    Stephen M. Medlock, Esq.           Florida Bar No. 118844
    Admitted Pro Hac Vice              kpathman@akingump.com
    Email: smedlock@mayerbrown.com     AKIN GUMP STRAUSS HAUER & FELD LLP
    MAYER BROWN LLP                    1333 New Hampshire Avenue NW
    Counsel for Defendant              Washington, DC 20036
    Lukoil Pan Americans LLC           Tel: (202) 887-4000
    1999 K Street NW                   Fax: (202) 887-4288
    Washington, D.C. 20006-1101
    Telephone: (202) 263-3312          and
    Facsimile: (202) 263-5312
                                       Mark J. MacDougall (admitted pro hac vice)
    Michael P. Lennon, Jr.             mmacdougall@akingump.com
    Admitted Pro Hac Vice              Thomas P. McLish (admitted pro hac vice)
    Email: mlennon@mayerbrown.com      tmclish@akingump.com
    MAYER BROWN LLP                    Stacey H. Mitchell (admitted pro hac vice)
    700 Louisiana Street, Suite 3400   shmitchell@akingump.com
    Houston, TX 77002-2730             Connor Mullin (admitted pro hac vice)
    Telephone: (713) 238-2667          cmullin@akingump.com
    Facsimile: (713) 238-4613
                                       Attorneys for Defendants FRANCISCO
    Attorneys for Defendant            MORILLO AND LEONARDO BAQUERO
    LUKOIL PAN AMERICANS LLC




                                        16
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 21 of 23



    By: /s/ David M. Burkoff            By: /s/ Gerald E. Greenberg
    Benjamine Reid, Esq.                Gerald E. Greenberg, Esq.
    Florida Bar Number 183522           Florida Bar No. 440094
    Email: breid@carltonfields.com      Email: ggreenberg@gsgpa.com
    CARLTON FIELDS JORDEN BURT,         Adam M. Schachter, Esq.
    P.A.                                Florida Bar No. 647101
    Miami Tower                         Email: aschachter@gsgpa.com
    100 S.E. Second St., Ste. 4200      GELBER SCHACHTER &GREENBERG,
    Miami, Florida 33131-2113           P.A.
    Telephone: (305) 539-7228           1221 Brickell Avenue, Suite 2010
    Fax: (305) 530-0055                 Miami, Florida 33131
                                        Telephone: (305) 728-0950
    David M. Burkoff, Esq.              Facsimile: (305) 728-0951
    Admitted Pro Hac Vice               E-service: efilings@gsgpa.com
    Email: dburkoff@huntermaclean.com
    Allan C. Galis, Esq.                Attorneys for Defendants VITOL INC., VITOL
    Admitted Pro Hac Vice               ENERGY (BERMUDA) LTD., and ANTONIO
    Email: agalis@huntermaclean.com     MAARRAOUI
    Heather H. Lundy, Esq.
    Admitted Pro Hac Vice
    Email: hlundy@huntermaclean.com     By: /s/ Etan Mark
    HUNTER, MACLEAN, EXLEY &            Etan Mark, Esq.
    DUNN, P.C.                          Florida Bar No. 720852
    200 E. Saint Julian Street          etan@markmigdal.com
    P.O. Box 9848                       Donald J. Hayden, Esq.
    Savannah, GA 31412-0048             Florida Bar No. 097136
    Tel: (912) 236-0261                 don@markmigdal.com
    Fax: (912) 236-4936                 Lara O’Donnell Grillo, Esq.
                                        Florida Bar No. 37735
    Attorneys for Defendants COLONIAL   lara@markmigdal.com
    GROUP, INC., COLONIAL OIL           eservice@markmigdal.com
    INDUSTRIES, INC. and PAUL ROSADO    MARK MIGDAL & HAYDEN
                                        80 SW 8th Street
                                        Suite 1999
                                        Miami, FL 33130
                                        Telephone: 305-374-0440

                                        Attorneys for Defendant JOHN RYAN




                                        17
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 22 of 23



    By: /s/Israel J. Encinosa
    Alex M. Gonzalez
    Florida Bar No. 991200
    alex.gonzalez@hklaw.com
    Israel J. Encinosa
    Florida Bar No. 0046083
    israel.encinosa@hklaw.com
    Brian A. Briz
    Florida Bar No. 657557
    brian.briz@hklaw.com
    HOLLAND & KNIGHT LLP
    701 Brickell Avenue, Suite 3300
    Miami, Florida 33131
    Tel: (305) 374-8500
    Fax: (305) 789-7799
    David Kully (admitted pro hac vice)
    david.kully@hklaw.com

    Attorneys for Defendants HELSINGE,
    INC., HELSINGE LTD., HELSINGE
    HOLDINGS, LLC, DANIEL LUTZ, LUIS
    LIENDO AND MARIA FERNANDA
    RODRIGUEZ




                                          18
Case 1:18-cv-20818-DPG Document 430 Entered on FLSD Docket 06/14/2018 Page 23 of 23



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 14, 2018 I electronically filed the foregoing Motion,

   By Order To Show Cause, For Sanctions and Other Relief Against Plaintiff with the Clerk of the

   Court using the CM/ECF system, which will send notification of such filing to counsel or parties

   of record.


                                                      /s/ Christina Olivos
                                                      Christina Olivos




                                                 19
